                                                                                           08/22/2024

        IN THE COURT OF CRIMINAL APPEALS OF TENNESSEE
                         AT NASHVILLE
                          Assigned on Briefs August 13, 2024

           STATE OF TENNESSEE v. LAWRENCE E. HAMPTON

                Appeal from the Criminal Court for Davidson County
                    No. 2013-D-3345 Cynthia Chappell, Judge


                             No. M2024-00058-CCA-R3-CD


The Defendant, Lawrence E. Hampton, appeals the trial court’s summary dismissal of his
third motion to correct an illegal sentence pursuant to Tennessee Rule of Criminal
Procedure 36.1. Specifically, the Defendant argues that the trial court’s entry of corrected
judgment forms changing the order of consecutive service of sentences constituted an ex
parte sentencing in violation of Tennessee Rule of Criminal Procedure 43(a)(3). Following
our review, we affirm.

 Tenn. R. App. P. 3 Appeal as of Right; Judgment of the Criminal Court Affirmed

KYLE A. HIXSON, J., delivered the opinion of the court, in which J. ROSS DYER and JILL
BARTEE AYERS, JJ., joined.

Lawrence E. Hampton, Wartburg, Tennessee, Pro Se.

Jonathan Skrmetti, Attorney General and Reporter; Caroline Weldon, Assistant Attorney
General; and Glenn R. Funk, District Attorney General, for the appellee, State of
Tennessee.

                                        OPINION

       On September 11, 2014, the Defendant pleaded guilty to aggravated assault and
employing a firearm during the commission of a dangerous felony. See Tenn. Code Ann.
§§ 39-13-102, -17-1324. The transcript of the plea hearing is not included in the record on
appeal, but the Defendant’s petition to enter a plea of guilty indicates that he agreed to a
four-year sentence on the aggravated assault count and a consecutive ten-year sentence on
the employment count, for an effective fourteen-year sentence. Contrary to the agreed
order of service as stated in the petition, the original judgments indicated that the
aggravated assault sentence ran consecutively to the employment sentence. On July 15,
2015, the trial court entered corrected judgments stating that the employment sentence ran
consecutively to the aggravated assault sentence, as reflected in the plea petition.

      On December 13, 2022, the Defendant filed his first motion to correct an illegal
sentence pursuant to Tennessee Rule of Criminal Procedure 36.1. The trial court denied
the motion by order on April 3, 2023. The Defendant filed his second and third Rule 36.1
motions on September 26 and November 13, 2023. The trial court summarily denied those
motions in a consolidated order on December 12, 2023. The Defendant timely appealed.
The Defendant’s issue on appeal pertains only to the allegations raised in his third Rule
36.1 motion, and we will limit our analysis accordingly.

        Although not addressed by the State, we note that the trial court summarily denied
the Defendant’s third motion on procedural grounds, finding that the Defendant (a) failed
to attach to his motion the original judgment for the employment count; (b) erroneously
stated that this was his first Rule 36.1 motion when, in fact, it was his third; and (c) failed
to attach a copy of his previous Rule 36.1 motions to his third motion or to otherwise state
the reasons for his failure to do so. After our review of the record, we conclude that the
trial court correctly found the Defendant’s third motion to be “deficient on its face” for
these reasons. See Tenn. R. Crim. P. 36.1(a)(1) (requiring the movant to “attach to the
motion a copy of each judgment order at issue”; and, if a previous motion has been made,
to attach “a copy of each previous motion and the court’s disposition thereof” or “state
satisfactory reasons for the failure to do so”). These failures alone form a sufficient basis
for our court to affirm the trial’s court summary denial of the Defendant’s motion. See
State v. Smith, No. W2020-01596-CCA-R3-CD, 2021 WL 4932496, at *2 (Tenn. Crim.
App. Oct. 22, 2021), no perm. app. filed.

       The trial court further found that the Defendant’s third motion failed to raise a
colorable claim that his sentences were illegal. The Defendant’s argument in his third
motion and on appeal is that the entry of corrected judgments on July 15, 2015 constituted
a resentencing for which neither he nor his attorney were present as required by Tennessee
Rule of Criminal Procedure 43(a)(3) (requiring the presence of the defendant at “the
imposition of sentence”). On this point, the trial court found as follows:

              The Court has consulted the record of the proceeding from which the
       allegedly illegal sentence emanated and finds that the original judgment
       forms entered by the Court reflected a clerical mistake, in that, when read
       together, they erroneously directed that [the aggravated assault count] run
       consecutively to [the employment count] though the inverse was
       bargained-for and intended. The terms set forth in the Plea Petition are


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       properly reflected on the corrected judgment forms entered July 15, 2015.
       This Court has previously found, and reiterates here, that the sentence [the
       Defendant] received is not illegal in that [the Defendant] was properly
       sentenced under the statutory framework for the offenses of which he was
       convicted. Thus, [the Defendant’s] allegations are insufficient to state a
       colorable claim for relief under Rule 36.1.

(Internal footnotes omitted). Whether the Defendant’s motion states a colorable claim for
correction of an illegal sentence under Rule 36.1 is a question of law, to which we apply
de novo review. See State v. Wooden, 478 S.W.3d 585, 589 (Tenn. 2015) (citations
omitted).

        Following our de novo review, we agree with the trial court and add that Tennessee
Rule of Criminal Procedure 36 provides that a trial court “may at any time correct clerical
mistakes in judgments . . . arising from oversight or omission.” Notice to the parties is not
necessarily required for such correction. See Tenn. R. Crim. P. 36 (directing the trial court
to give “any notice it considers appropriate”). And, generally, the entry of corrected
judgment forms in this context does not constitute a new sentencing hearing that requires
a defendant’s presence. See State v. Moutry, No. E2022-01076-CCA-R3-CD, 2023 WL
3736435, at *2 (Tenn. Crim. App. May 31, 2023), no perm. app. filed. Such was the case
here. In correcting the Defendant’s judgments, the trial court did not “impose” a sentence
upon the Defendant; it merely corrected the judgments to accurately reflect the sentence
that was previously imposed. As such, the Defendant’s presence was not required by
Tennessee Rule of Criminal Procedure 43(a)(3). If the Defendant wished to appeal the
methodology used by the trial court in correcting the clerical mistake in his judgments, he
should have done so when they were entered in 2015. See Tenn. R. Crim. P. 36 (providing
an appeal as of right for judgments corrected under the Rule); see also Tenn. R. App. P.
3(b) (providing the same). The Defendant has not otherwise shown that his sentences were
“not authorized by the applicable statutes” or that they “directly contravene[] an applicable
statute.” See Tenn. R. Crim. P. 36.1(a)(2). As such, summary denial of his motion was
required. See id. 36.1(b)(2). We affirm.




                                                  KYLE A. HIXSON, JUDGE




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